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EXHIBIT C
                    Case 1:17-cv-02989-AT Document 558-3 Filed 07/30/19 Page 2 of 5




From:                                       Josh Belinfante <Josh.Belinfante@robbinsfirm.com>
Sent:                                       Monday, July 8, 2019 2:23 PM
To:                                         Cary Ichter
Cc:                                         bbrown@brucepbrownlaw.com; Carey Miller; DCross@mofo.com;
                                            jpowers@lawyerscommittee.org; dbrody@lawyerscommittee.org; Bryan Tyson; Vincent
                                            Russo; Kimberly Anderson; Brian Lake; Alexander Denton; Bryan Jacoutot
Subject:                                    FBI Request




Cary:


We have confirmed that the FBI has maintained possession of the drive. We'll be responding to your discovery requests
seeking more information in a timely manner.


Thanks,
JB




Josh Belinfante
Robbins Ross Alloy Belinfante Littlefield LLC
500 Fourteenth Street NW
Atlanta, GA 30318
404.856.3262 (Direct)
678.70 1.9381 (Main)
404.856.3250 (Fax)
www.robbinsfirm.com


Please visit our affiliated government relations practice: Robbins Government Relations
www.robbinsgr.com


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error, please contact me by reply email and destroy all copies of the original message. IRS Circular 230 requires me to state that any opinions
expressed with respect to a significant tax issue are not intended or written by me to be used, and cannot be used by you, for the purpose of avoiding
penalties that may be imposed on you or any other person who may examine this correspondence in connection with a Federal tax matter.




                                                                              1
                    Case 1:17-cv-02989-AT Document 558-3 Filed 07/30/19 Page 3 of 5




From:                                       Josh Belinfante <Josh.Belinfante@robbinsfirm.com>
Sent:                                       Monday, July 8, 2019 3:12 PM
To:                                         Cross, David D.; Cary Ichter
Cc:                                         bbrown@brucepbrownlaw.com; Carey Miller; jpowers@lawyerscommittee.org;
                                            dbrody@lawyerscommittee.org; Bryan Tyson; Vincent Russo; Kimberly Anderson; Brian
                                            Lake; Alexander Denton; Bryan Jacoutot; Chappie, Catherine L.
Subject:                                    RE: FBI Request




David:


Hope you're not caught in the flooding I just read about.


To answer your question, we have requested a copy.


Thanks,
JB




ROBBINS
Josh Belinfante
Robbins Ross Alloy Belinfante Littlefield LLC
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expressed with respect to a significant tax issue are not intended or written by me to be used, and cannot be used by you, for the purpose of avoiding
penalties that may be imposed on you or any other person who may examine this correspondence in connection with a Federal tax matter.




From: Cross, David D. <DCross@mofo.com>
Sent: Monday, July 8, 2019 3:03 PM
To: Josh Belinfante <Josh.Belinfante@robbinsfirm.com>; Cary Ichter <Clchter@ichterdavis.com>
Cc: bbrown@brucepbrownlaw.com; Carey Miller <carey.miller@robbinsfirm.com>; jpowers@lawyerscommittee.org;
dbrody@lawyerscommittee.org; btyson@taylorenglish.com; Vincent Russo <vrusso@robbinsfirm.com>; Kimberly
Anderson <Kimberly.Anderson@robbinsfirm.com>; Brian Lake <Brian.Lake@robbinsfirm.com>; Alexander Denton
<Alexander.Denton@robbinsfirm.com>; bjacoutot@taylorenglish.com; Chappie, Catherine L. <CChapple@mofo.com>
Subject: RE: FBI Request


Josh -


 Has the state requested a copy of it from the FBI? If not, does it plan to?
                                                                              l
                              Case 1:17-cv-02989-AT Document 558-3 Filed 07/30/19 Page 4 of 5



Thanks.
DC




From: Josh Belinfante <Josh.Belinfante@rohbinsfirm.com>
Date: Monday, Jul 08, 2019, 11:23 AM
To: Cary Ichter <Cschter@lchterdavis.com>
Cc: b h r o w n @ h r u c e p b ro w n 1 a w , c o m < b b ro w n @ b r u c e p b ro w n i a w . c o m >, Carey Miller < c a re-y . m i 1 1 e r @ ro b b i n sfi r m . c o m >, Cross,
David D. < DC ro ss @ m ofo . co m >, ipowers^lawyerscommtttee.orR <jpowers@ iawverscQromittee.org>,
d b rod y @ lawye rscom m ittee .org <dbrody@lawye rs c o m m i 11 e e . o rg > , btyson@tavlorengnsh.com <btyson@tayiorengnsh.com>,
Vincent Russo <vrussQ@robbinsfirm.com>, Kimberly Anderson <Kiroberly.Anderson@ ro bbinsfsrni.com>, Brian Lake
< B r i a n . La ke @ ro b h i n sfi r m . c o rn >, Alexander Denton <A i exa n d e r. D e n to n @ ro b b i n sf i r m . co m >, biacoutot@taylorenRlish.com
<biacoutot@taylorenglish.com>
Subject: FBI Request


- External Email -


Cary:


We have confirmed that the FBI has maintained possession of the drive. We'll be responding to your discovery requests
seeking more information in a timely manner.


Thanks,
JB




ROB BINS             -   --




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678.701.9381 (Main)
404.856.3250 (Fax)
www.robbinsfirm.com


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